     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Arizona District of (State)
                                     _________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                            Chapter 7
                                                           
                                                           ✔ Chapter 11
                                                            Chapter 12                                                             Check if this is an
                                                            Chapter 13                                                                amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                       06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Universal  Solar America, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                            Mailing address, if different from principal place
                                                                                                   of business
                                               515 E. Carefree Hwy                                 _______________________________________________
                                            ______________________________________________
                                            Number     Street                                      Number     Street

                                               Suite 439
                                            ______________________________________________         _______________________________________________
                                                                                                   P.O. Box

                                               Phoenix                    AZ   85085
                                            ______________________________________________         _______________________________________________
                                            City                        State    ZIP Code          City                      State      ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                               Maricopa County
                                            ______________________________________________
                                            County                                                 _______________________________________________
                                                                                                   Number     Street

                                                                                                   _______________________________________________

                                                                                                   _______________________________________________
                                                                                                   City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


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                Universal Solar America, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                             _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
      A debtor who is a “small business                       recent balance sheet, statement of operations, cash-flow statement, and federal income
      debtor” must check the first sub-                       tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
      box. A debtor as defined in
      § 1182(1) who elects to proceed                     
                                                          ✔
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
      under subchapter V of chapter 11                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
      (whether or not the debtor is a                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
      “small business debtor”) must                           of operations, cash-flow statement, and federal income tax return, or if
      check the second sub-box.                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

              Case
     Official Form 2012:23-bk-06491-MCW     Doc
                                      Voluntary    1 for
                                                Petition Filed  09/18/23
                                                           Non-Individuals         Entered
                                                                           Filing for          09/18/23 15:12:28
                                                                                      Bankruptcy                                        Desc
                                                                                                                                        page 2
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               Universal Solar America, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000
                                           ✔
                                                                             $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



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             Universal Solar America, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            09/18/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ John Bereckis
                                             _____________________________________________               John Bereckis
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Manager
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Patrick Keery
                                             _____________________________________________              Date         09/18/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Patrick Keery
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Keery McCue, PLLC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              6803 E. Main Street Suite 1116
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Scottsdale
                                             ____________________________________________________           AZ              85251
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              (480) 478-0709
                                             ____________________________________                              pfk@keerymccue.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              030971                                                        AZ
                                             ______________________________________________________ ____________
                                             Bar number                                             State




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Universal Solar America, LLC


ARIZONA DEPARTMENT OF REVENUE
2005 NORTH CENTRAL AVENUE
PHOENIX, AZ 85004-0000

BARRY M. AYLSTOCK, ESQ.
FAITH, LEDYARD & FAITH, PLC
919 N. DYSART ROAD, SUITE F
AVONDALE, AZ 85323

INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
P.O. BOX 7346
PHILADELPHIA, PA 19101

JPMORGAN CHASE AUTO LOAN
MASERATI CAPITAL USA
700 KANSAS LANE
MONROE, LA 71203-4774

LOUIS W. HOROWITZ, ESQ.
LORBER, GREENFIELD & POLITO, LLP
3930 E. RAY ROAD, SUITE 260
PHOENIX, AZ 85044

PSG ENERGY GROUP, LLC
608 W. MAIN STREET
SUITE B
PITTSBORO, IN 46167

UNICORN SOLAR DEVELOPMENT, INC.
919 N. DYSART RD.
STE. F
AVONDALE, AZ 85323

UNICORN SOLAR DEVELOPMENT, INC.
1024 IRON POINT RD.
FOLSOM, CA 95630




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                             United States Bankruptcy Court
                              District of Arizona




         Universal Solar America, LLC
In re:                                                            Case No.

                                                                  Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              09/18/2023                            /s/ John Bereckis
Date:
                                                    Signature of Individual signing on behalf of debtor

                                                    Manager
                                                    Position or relationship to debtor




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